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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 THOMAS DEXTER JAKES,                                  Case No. 2:24-CV-1608-WSS

         vs.

 DUANE YOUNGBLOOD,
 JOHN DOE 1,
 JOHN DOE 2,
 JOHN DOE 3,                                           AFFIDAVIT OF THOMAS DEXTER
 JOHN DOE 4,                                           JAKES IN SUPPORT OF
 JOHN DOE 5,                                           PLAINTIFF’S OPPOSITION TO
 JOHN DOE 6,                                           MOTION TO DISMISS
 JOHN DOE 7,
 JOHN DOE 8,
 JOHN DOE 9, and
 JOHN DOE 10,

                               Defendants.


       THOMAS DEXTER JAKES, being duly sworn, states as follows:

       1.      I am Thomas Dexter Jakes, the plaintiff in the above-referenced action, and I live

in Dallas, Texas.

       2.      I have reviewed the affidavits of Duane Youngblood and Richard Youngblood

submitted in support of the motion to dismiss. The statements in these affidavits purport to describe

situations where I harbored carnal desires for these men. These statements are knowingly and

flagrantly false. I am repulsed by these defamatory accusations and the $6 million extortion letter

I received from Duane Youngblood’s attorney, Tyrone Blackburn. (Attached hereto as Exhibit 25

is the Blackburn Letter).

       3.      For years, I have been counseled to ignore the constant stream of low-level smears

against my reputation. However, the emotional and physical toll of this coordinated campaign of
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lies, designed to damage my reputation and legacy, has become overwhelming. The pain it has

caused my wife of 43 years and my five children, whom I have always loved, nurtured, and

provided for, is simply too much to bear. Every person has a breaking point. I have reached mine.

I authorized this lawsuit because I can no longer remain silent.

        4.      My calling to preach the Gospel began at a young age. In 1980, I founded Greater

Emmanuel Temple of Faith, a small storefront church in Smithers, West Virginia (attached hereto

as Exhibit 26 is a photograph). With a congregation of just ten people, I traveled to coal mining

towns throughout the state, spreading the Gospel. This was a true testament to humble beginnings.

        5.      In 1982, I married my wife, Serita. I embraced her two children from a previous

relationship as my own. Tragically, just six months into our marriage, a near-fatal car accident left

Serita with debilitating injuries, confining her to a wheelchair for nearly a year. That same year, I

lost my job at the Union Carbide Chemical Plant due to its closure, further compounding our

already difficult financial situation. To feed my family, I worked nights digging ditches for gas

lines with my brother. But even this arduous labor was often insufficient.

        6.      It is within this context – the reality of my life in 1986 – that Duane Youngblood

makes his preposterous claim, nearly 40 years later, on the Larry Reid Live podcast, that I promised

him lifelong financial support in exchange for sex “whenever” I visited Pittsburgh. This assertion

is not only ludicrous; it is a bald-faced lie.

        7.      To be clear: while I occasionally travelled to Pennsylvania around 1986 to preach

at area churches that were part of the Greater Emanuel International Fellowship network, I never

tried to corner, grab, or kiss any teenagers. I never phoned Duane Youngblood to proposition him

for sex in exchange for financial support. And I never groomed, sexually abused, sexually




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assaulted, and engaged in predatory conduct of a sexual nature towards Duane Youngblood. I

never apologized to Youngblood for any such conduct, because it did not happen.

       8.       During that period, I was barely keeping my own family out of poverty. I was not

the “Bishop TD Jakes” of today. I was a pastor with no substantial following, and no financial

resources. My home was a small, wood-framed structure (attached hereto as Exhibit 27 is a

photograph of the house). There were no signs of prosperity. My life was consumed with providing

for my family, often amidst severe hardship. There were numerous nights when my wife and

children returned to a home without water or electricity. I often share the story of how I turned the

shame of utility shutoffs into a game with my two oldest sons, then just five and six years old,

seeing who could reach their rooms without stubbing their toes in the dark.

       9.       My circumstances began to improve in 1992. I managed to scrape together enough

money to travel to Tulsa, Oklahoma, for the AZUSA 92 evangelical conference. Initially, I was

largely ignored. However, my fate changed on the second day when I was introduced to prominent

evangelist Carlton Pearson by Sarah Jordan Powell. His support led to a speaking engagement at

the following year’s conference, AZUSA 93. There, my sermon, “Woman Thou Art Loosed,”

resonated powerfully with attendees and launched me into national prominence. Before this pivotal

moment, my ministry was a modest, local calling.

       10.      Today, I have diversified my income streams as an author, film producer, real estate

developer, and more. However, during the time period referenced by Duane Youngblood, I had

none of this.

       11.      In my 68 years, my only involvement with the justice system has been primarily

through the Texas Offenders Reentry Initiative (T.O.R.I.), a faith-based program that helps

formerly incarcerated individuals reintegrate into society. Through T.O.R.I., we have assisted over



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40,000 individuals in rebuilding their lives by providing support in employment, education,

housing, healthcare, spiritual guidance, and family reunification.

       12.     I now find myself defending my character and integrity against two convicted

felons acting at the behest of an overzealous blogger attempting to extort $6 million from me.

       13.     Duane Youngblood claims to have “confronted” me about the alleged attempted

kiss. Yet, I had never heard a whisper of this supposed incident until his appearance on the Larry

Reid Live podcast. Although Duane blames this conjured up incident as an excuse for his abhorrent

behavior, it is my understanding that he never brought any of this up as a defense in either trial

that resulted in him spending half of his life in prison. I nor anyone he is now maligning was

brought up in either trial. Make this make sense! If this event truly occurred and was as traumatic

as he claims, why has it never surfaced in any of Duane’s own molestation cases, where such a

detail would have been paramount to his defense?

       14.     It is with deep sadness that I find myself responding to these egregious and

defamatory claims. My willingness to address them does not diminish the need for justice. I am

one of many who have been targeted by these malicious individuals. My commitment extends

beyond defending myself; it includes exposing these individuals and their tactics, which often prey

on those who lack the resources to defend themselves against such calculated attacks disguised as

truth-telling. I must add, the inconsistencies in Duane Youngblood’s narrative are too numerous

to address comprehensively. His story changes with every telling. Initially, he claimed I tried to

kiss him. In a separate interview, he stated I blocked him from leaving (which is completely out

of character for me). His latest claim is that he was driving me home after a birthday party.

       15.     Duane Youngblood has also implicated two other pastors, accusing one of groping

him during a massage. Yet, he has made no demands against that individual. He accuses me of



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merely “trying to hug and kiss him,” yet seeks to extract $6 million. Why this discrepancy? If I am

as reprehensible as he portrays me, why did he join the organization where I served as a vice

bishop, leave, and then subsequently rejoin?

        16.     Regarding Richard Youngblood’s claims: While I frequently traveled to Pittsburgh

during that period, Richard and I, as two adult men, were perfectly capable of making the four-

hour trip from Charleston, West Virginia, without requiring an overnight stay at a motel. I

categorically deny ever getting into bed naked and propositioning Richard. Furthermore, if he

genuinely believed me to be a threat, why did he later approach me approximately 10 years ago

(in Nashville, Tennessee, at a TBN event) about a job at The Potter’s House? His story surfaced

only after I declined to hire him due to his lack of qualifications. Richard has a history of instability.

He hasn’t been able to maintain a job, he has multiple children with different women, and a felony

conviction for failure to pay child support. It’s difficult to respect a man who doesn’t take care of

his children.

        17.     In all my years, I have never initiated a lawsuit against anyone. We filed this lawsuit

against individuals who were supposed to be men of God but are clearly not. The catalyst for this

action was not simply the nature of the accusations but the relentless attacks by the overzealous

blogger. I have faced many attacks in my life, but none like this. Even so, I feel compelled to stand

up against these bullies.

        18.     This is a carefully orchestrated attempt to destroy me. An overzealous blogger

publicly solicited individuals to make accusations against me, not for victims to come forward, but

for anyone willing to fabricate stories. He explicitly stated his strategy in one of his podcasts before

his interviews with Duane: “The claim doesn’t have to be true… it just needs to be filed… Once

it’s filed, I can talk about it on my show!” Richard and Duane Youngblood responded to this call.



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They are working in concert, relentlessly targeting me and my family with vicious, unfounded

attacks. I spent the past year enduring their vicious attacks, lies, rumors of my wife leaving, rumors

of my church abandoning me, and so much more… All of this was happening while I found myself

helping my wife recover from knee replacement surgery and while helping my brother navigate

kidney failure. This unwarranted stress brought me to a place of having a health crisis on stage in

front of my entire congregation. As a guy who’d had no previous health challenges, this near-death

experience was a turning point for me. Enough is enough!

       19.     I suspect a larger network is involved in this scheme, all anticipating a share of this

attempted "money grab." Duane's ambition and confidence in extorting $6 million from me are

evident in his pre-emptive actions: establishing a website, commissioning artwork, hiring a

publicist, and announcing the launch date for not one, but two books: a "tell-all" about me and

another entitled "How to Get Rich." All of this was in motion before I even received the $6 million

extortion letter from Blackburn.

       20.     Blackburn has stated that he is not being paid by Duane. If this is true, the question

must be asked: who is funding Blackburn's efforts? The only logical explanation is that he fully

expected me to succumb to the pressure of his false accusations and pay him $6 million to remain

silent. Finally, Duane and the overzealous blogger had already publicized this fabricated story.

Why would I pay them "not to tell" something they had already broadcast to the world? This tactic

aligns with Tyrone Blackburn's established pattern of behavior.

       21.     This entire smear campaign began shortly after the public announcement of a

commitment from Wells Fargo of up to $1 billion for community redevelopment. This initiative is

designed to provide quality affordable and workforce housing, broadband access for children

lacking adequate internet service, fresh grocery options in food deserts, job creation and training,



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and comprehensive support services for underserved and undercapitalized communities. This

partnership was never intended for my personal gain; it is a testament to my commitment to giving

back to the community that has supported me for decades.

        22.     In summary: I have no ulterior motive. I desire peace, accountability and an end to

this harassment. I pray for an expeditious resolution to this matter, one that respects the integrity

of the federal court process and allows me to continue the work that is most dear to my heart:

investing in the lives of those most in need. My deepest concern is that others will be victimized

by their vicious, collaborative tactics. Unless the law intervenes, this pattern of abuse will continue.




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